                In the United States Court of Appeals
                       for the Eleventh Circuit

TIMOTHY BURKE,


       Movant-Appellant,
v.
                                                              No. 23-13649-HH

UNITED STATES OF AMERICA,

       Defendant-Appellee


     Burke’s Redacted Opposition to Government’s Motion to Dismiss Appeal


      On February 26, 2024 the government filed a Motion to Dismiss as moot

Mr. Burke’s Appeal of the District Court’s denial of his motion for return of

more than 100 Tb of data which constitute the contents of his newsroom, which

include confidential and privileged journalist source and reporting information,

and which includes information that Mr. Burke intended to publish. Burke alleges

the material was seized unlawfully and with a “callous disregard” for his

constitutional rights, and its retention constitutes an unconstitutional prior

restraint on Mr. Burke’s ability to publish newsworthy information (Doc. 24) The

government asserts that their Indictment of Mr. Burke, nullifies any claim that the

seizure   and    continued    possession    of   Mr.   Burke’s   newsroom     was

unconstitutional, and obviates any need for these materials to be returned.

      The government also asserts that this Court need not address Mr. Burke’s
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claims that he needs access to the Affidavit in support of the warrant to raid his

newsroom, because “the magistrate judge has since unsealed the search warrant

affidavit, aside from the redaction of an IPv6 address and the home addresses of

two individuals.” (Gov. Motion, Doc. 24, p. 8-9). While the government here asserts

that “the affidavit is unsealed,” before the Magistrate Judge the government asserts

that the affidavit is sealed, cannot be introduced as an exhibit, and that individuals

mentioned in the Affidavit cannot be referred to in pleadings or filing. (Gov. Motion

to Partially Unseal Affidavit, Doc 53, Exhibit A; Order on Motion to Unseal, Doc. 54,

Exhibit B) Indeed, the government asserts that any pleadings mentioning the

Affidavit must be filed “under seal.”1 The issue is therefore not moot: Mr. Burke

does not have his materials back; he continues to be restrained from publishing

them; he is now also purportedly restricted from mentioning any of the names that

appear throughout his already-public Appellant’s Brief; and he has still not

received a hearing on his motion for return of property, as required by Rule 41(g)

of the Federal Rules of Criminal Procedure.




1 In this response, Mr. Burke stakes out a middle ground, making general refences

to what the Affidavit does not show, but eschewing any references to names of
individuals who might be referenced by pseudonym in the Affidavit. Where this
document references the name of a person or entity which might be referenced in
the Affidavit we have redacted that name from the publicly filed document but
included it in a document to be mailed to the Court for filing under seal. It is not
entirely clear that even this approach is permitted by the gag order issued by the
Magistrate Judge. Indeed, this pleading has been delayed for more than a week as
counsel attempted to determine exactly what the AUSA’s proposed Order, adopted
by the Magistrate Judge, actually means.
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 1.    The Affidavit in Support of the Warrant Has NOT Been Unsealed


      The Order of the Magistrate Judge does not unseal the affidavit, and in fact,

 the affidavit remains sealed. (Doc. 54; Exhibit B) While the Order permits the

 parties to use the affidavit, one of the parties to this action - Times Publishing -

 does not have and can not obtain a copy of the document the government

 describes as “unsealed.” It is not on the docket sheet, and not available for use.

 Moreover, the government takes the position that the Affidavit remains sealed, and

 even with any names contained therein being redacted, cannot be submitted to the

 Court below, or to this Court except under seal.

      In addition, in its February 26, 2024 Order, the Magistrate Judge also issued

 the functional equivalent of a “gag order” precluding Mr. Burke and his counsel

 from “referring to any individual identified within the [Affidavit]” other than Mr.

 Burke.” (Doc. 54, p. 2).2 In short, rather than shedding light on the matter, what the

 government here claims to be “unsealed” is actually more restrictive than the

 situation before the “unsealing.”

 2.   Disclosure of the Affidavit Would N o t Reveal The Names of Victims,
 Witnesses, and Law Enforcement Officials.

      For more than ten months the government has asserted that Mr. Burke and




2 Since the Affidavit itself identifies no individual other than Mr. Burke, the Affiant

and the Judge, the gag order either is superfluous, or now prohibits Mr. Burke from
“referencing” any individual whose name can be gleaned from the Affidavit, even
though they are not mentioned therein.
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the public could not see the Affidavit because it disclosed the names of

witnesses, victims, subjects, targets, and law enforcement officials. Indeed, it has

done so even as it asked the Magistrate Judge to “partially unseal” the Affidavit,

subject to the condition that these names be redacted by any party who

attempted to “use” the Affidavit.

     However, there are no names in the Affidavit, and never were. Moreover,

Mr. Burke in his pleadings seeking return of his property has identified the parties

he believes are at issue thus mooting the government’s concerns about disclosure.

The Affidavit itself notes that “[t]he identities of potential victims, witnesses, and

third parties have been anonymized in this affidavit to protect their privacy and

the integrity of the federal criminal investigation.” They simply aren’t there, and

the government’s repeated assertions that the Affidavit must be sealed (and

remain sealed) to prevent disclosure of that information is not accurate. A

significant consequence of sealing the Affidavit (and keeping it sealed for ten

months) was to frustrate Mr. Burke’s efforts to get his materials returned in a

timely fashion so he could publish them. The government, acting on behalf of the

representatives   of   “Law Firm #1” who represent “broadcast network

(“NetworkCo”)” referenced in the Affidavit as being the initiator of the criminal

action, now files this Motion which substitutes as an extended sealing with the

practical effect that, if granted, continues the prior restraint on publication.




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3.   The Affidavit Concealed Critical Information From The Magistrate
Judge Regarding Burke’s Status As A Journalist And the Nature of the
Information Sought to Be Seized

     Apart from the name of the affiant and the Magistrate Judge, the only name

that appears in the Affidavit is that of Mr. Burke, who is referred to as a

“former journalist.” Indeed, reading the Affidavit, one would never know that the

government was seeking to search a reporter’s newsroom and seize the contents

of his newsroom because he published and caused to be published embarrassing

information about Tucker Carlson and Kanye West that he found on a publicly

accessible, Internet addressable website.

     Not only does the Affidavit not contain the names of individuals, it does

not contain the names of corporations, entities, Internet Service providers, or

even the media outlets that ultimately published the information at issue. Most

important, the affidavit does not tell the Magistrate Judge that the government was

seeking to seize privileged and First Amendment protected materials from a journalist in

an investigation of his publication of such materials. Rather, it actively concealed

this fact. Indeed, nobody reading the Affidavit would know that the case involved

the publication of newsworthy information.

     4.    The Affidavit Demonstrates That the Government Did NOT Meet
the Richey Factors

     The government here asserts that they met the requirements of Richey v.

Smith, 515 F.2d 1239 (5th Cir. 1975), and that they did not act in “callous disregard”

for Mr. Burke’s rights as a journalist under the First and Fourth Amendments,
                                            5
and his wife’s rights as a member of the Tampa City Council under the

Fourth Amendment, because the government “had complied with all aspects of its

own Privacy Protection Act policy and its News Media Policy during the investigation.

Doc. 33 at 13, 19–25. (emphasis added). And, i t explained that it had implemented

a filter protocol to protect any applicable privileges. Id. at 23.” “Complied with”

may mean that they actually obtained the required approvals, or that the United

States Attorney’s Office for the Middle District of Florida unilaterally decided

that Mr. Burke was not a journalist, and therefore no such approvals were

required.

     What the government does NOT say in its Motion is that there was no

“callous disregard” because the search of the journalist was approved by the

Attorney General, and that the Magistrate Judge was informed of this fact.

     It does not say that the Assistant United States Attorney obtained approval

from the Attorney General’s Office to seize tens of thousands of pages of

documents and terabytes of data and video content “possessed by a person

reasonably believed to have a purpose to disseminate to the public a

newspaper, book, broadcast, or other similar form of public communication” 42

USC 2000aa, and that there were binding protocols established to ensure that no

such information was seized other than that for which “there is probable cause to

believe that the person possessing such materials has committed or is committing

the criminal offense to which the materials relate.” Id.

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     Nothing in the Affidavit suggests that this is the case. Nothing in the

Affidavit suggests that the Magistrate Judge was told that the government was

seizing a newsroom.

     In both the Affidavit and its pleadings, the government denies that the DOJ

Press Policy, the DOJ policy on the PPA,3and the Filter Team requirements

apply because, they contend, that Mr. Burke is not a journalist, and the DOJ

regulations confer no enforceable rights upon Mr. Burke.                The Affidavit

deliberately removes any mention of Burke’s actions as a journalist. The Affidavit

makes no mention of the DOJ Press Policy, or the PPA policy. 4 In fact, the Affidavit

conceals from the Magistrate Judge the fact that the government was seeking

a warrant to search and seize a newsroom - deliberately removing any mention

of things like “Fox News” or “Media Matters” or “Vice News” or “Tucker

Carlson” or “Kanye West” or the fact that the case involves a journalist publishing


3 DOJ Press Policy 28 C.F.R. § 50.10(b)(2) and the DOJ Privacy Protection Act

policy 28 C.F.R. § 59.3, and 28 C.F.R. § 50.10(q) for the search and seizure, and that
they coordinated this search with the Computer Crime and Intellectual Property
Section of the Criminal Division as required by DOJ policy. Department of Justice
Manual, Section 9-48.000 (updated May, 2022)
4 Illustrative is Reporters Committee v. Department of Justice, Dkt. No.1:19-cv-02847-

TFH (D.D.C., November 8, 2021) the government asserted that the Press Policy did
not apply to the FBI’s participation in the execution of a state search warrant to
seize a newsroom and FBI agents’ interviewing of the reporter, Brian Carmody, in
direct contravention of 28 C.F.R. § 50.10(f)(1). The Court there held that “the
specter of government misconduct looms over the entire Carmody matter” and
particularly criticized the fact that the “warrant affidavit did not describe
Carmody as a journalist…” The D.C. federal court noted that “a reasonable person
could conclude that the alleged government impropriety occurred.”

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truthful information about a matter of public interest. If, in fact, the government

sought and obtained DOJ approval for the search as required by DOJ policy,

not only is that news to Mr. Burke, it would be news to the Magistrate Judge as

well. This omission, in and of itself, constitutes a “callous disregard” for Mr.

Burke’s rights.

     5.     The Filter Team

     The government also contends in its Motion that it complied with the dictates

of Richey because “it had implemented a filter protocol to protect any applicable

privileges.”5 Nothing in the Affidavit suggests that the Magistrate Judge was

asked to approve a Filter Team protocol (the preferred mechanism of

implementing a Filter Team)6 or indeed that the government was seeking to




5
 Trump v. United States, 625 F. Supp. 3d 1257, 1264 ( SD Fl., 2022) citing In re Sealed
Search Warrant & Application for a Warrant by Tel. or Other Reliable Elec. Means, 11
F.4th 1235, 1245 n.6 (11th Cir. 2021) ("[Rule 41] is the proper way to come before
the court to seek an injunction regarding the government's use of a filter team to
review seized documents.") On appeal of the Trump case, this Court noted “Courts
that have authorized equitable jurisdiction [under Rule 41] have emphasized
the importance of identifying "specific" documents and explaining the harm from
their "seizure and retention." See, e.g., Harbor Healthcare Sys., L.P. v. United States, 5
F.4th 593, 600 (5th Cir. 2021) (Harbor did "far more than assert vague allegations"
by pointing to "thousands" of privileged documents that the government retained
for four years).Trump v. United States, 54 F. 4th 689, 699 (11th Cir., 2022).
6 See, e.g., Edward J. Imwinkelried, The Adequacy of Filter Team Protocols to

Protect Evidentiary Privileges During the Pretrial Stage, 84 La. L. Rev. (2024)
available at https://digitalcommons.law.lsu.edu/lalrev/vol84/iss2/6 (last
visited, February 26, 2024) and Rebecca Mitchell, The Search and Seizure of
Digital Materials Under Warrant and Protecting Privilege: Comparative Analysis
and Recommendations for Best Practice, available at
https://doi.org/10.1177/00220183231223592 (last visited February 26, 2024)
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 seize privileged and First Amendment protected materials, or that the Magistrate

 Judge was informed that Filter Team protocols were mandated by regulation. 28

 C.F.R. § 50.10(o). 7 In fact, everything in the affidavit removes any indication that

 a Filter Team would be required. In light of the government’s position that Mr.

 Burke was not a journalist, we can only speculate whether the Filter Team protocol

 complied with Richey. For example, the Affidavit specifically requests permission

 to seize a computer from “Mr. Burke’s wife,” on the ground that Mr. Burke may

 have used that computer. However, the Affidavit omits the fact that the computer

 sought was the property of the Tampa City Council, or even the fact that Mr. Burke’s

 wife had been reelected to the City Council a few days earlier. 8 Her name and

 position are omitted from the Affidavit, so that the Magistrate Judge would have

 no opportunity to require a Filter Team for the legislative materials that the

 government knew they intended to seize and examine.

6.    Mr. Burke Continues to Suffer Irreparable Harm from the Refusal To
      Return Unlawfully Seized Journalist Records, Notes and Materials
      Intended to be Published.

      The government’s principal argument is that the government may engage

 in a prior restraint on Mr. Burke’s ability to publish truthful information


 7 The use of Filter Protocols are required even when the government believes that

 the journalist is engaged in criminal activity, and even when the government
 believes that the actor is no longer a journalist, if it is likely that the government
 will seize materials that relate to newsgathering activities that are not related to
 the alleged criminality. See, 28 C.F.R. § 50.10(o) and (p).
 8 See DOJ Manual 9-85.500 and Principles of Federal Prosecution § 9-27.260

 (mandating that no investigative steps be taking that would impact an election)
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lawfully obtained9 indefinitely, and deny him a hearing or an opportunity to

have these materials returned so he can publish news based on them because the

Indictment renders his efforts to publish “moot.” This is a fundamental

misunderstanding of the nature of the remedy Mr. Burke seeks -- he seeks

precisely what Rule 41(g) provides, and which the criminal law does not. The

harm he suffers is that he cannot publish, and cannot publish today. The fact that

he can seek suppression of the seized materials at some later date does not permit

him to publish them now -- the equitable remedy that is provided by Rule

41(g).   Moreover, it is entirely possible that the purpose of the return of the

Indictment -- which alleges that Mr. Burke used “compromised credentials”10 to

access information he intended to publish -- was to do precisely what they seek

to do here: time the Indictment to the date of their response before this Court in

order to continue to prevent Mr. Burke from releasing the newsworthy

information. 11 The purpose of Rule 41(g) is for the Court to exercise its equitable


9 It remains Mr. Burke’s position that even the Indictment fails to allege (much less

establish) that any materials were obtained unlawfully. Despite the use of terms like
“access without authorization” and “stolen” the Indictment at its core simply
asserts that Mr. Burke lacked the permission of the subject of his journalism to see
and print the materials he obtained by visiting websites that were accessible
through the use of published credentials available to anyone online. While we
contend that this is not a crime, those allegations must be decided in the criminal
case, not here and not now.
10
    The term “compromised credentials” is not defined in the law. Here, the
Indictment alleges that Mr. Burke and CONSPIRATOR-2 found these credentials
online.
11
   Indeed, the Affidavit declares that the case was initiated when “Law Firm #1,
legal representation for a broadcast network (“NetworkCo”) contacted the
United States Attorney’s Office for the Middle District of Florida…” It seems
                                         10
powers to return materials seized unlawfully. The party seizing the materials to

prevent publication does not get a pass simply by obtaining an indictment,

and suppression does not remove the prior restraint on publication.

      The “in esse” requirement was a requirement for the appealability of the

denial of a Rule 41(e) [now (g)] motion under the collateral order rule of DiBella

v. United States, 369 US 121 (1962). If the purpose of the Rule 41 action was to

achieve a result in a related criminal case (such as suppression of evidence) then

it was “tied to” that case, and the denial of the motion was not a collateral order

and could not be appealed until the end of the criminal case. However, as this

Court noted in In re Sealed Search Warrant & Application for a Warrant by Tel. or

Other Reliable Elec. Means, 11 F.4th 1235, 1245 n.6 (11th Cir. 2021), the DiBella test

applies only where the remedy sought in the related criminal case is the same as

the remedy sought in the Rule 41 action. This Court applied DiBella and noted:

      The Intervenors clearly seek only the return of their property.
      They sought to prohibit the government from reviewing seized
      materials until a protocol protective of the attorney-client
      privilege was ordered. To protect the privileged materials, they
      primarily asked for the court to order the return of the seized
      documents to prevent law enforcement from reviewing the
      materials and suggested, in the alternative, that an independent
      party could act as the filter. They do not seek to invalidate the
      seizure—indeed, the government currently remains in
      possession of the materials seized. See Oral Argument Recording
      at 2:36-44 (July 1, 2021) ("To be clear as we sit here today hearing
      the case, the materials are safe. They are in the possession of the

clear that the prosecutors have been working with lawyers for the broadcast
network to prevent Mr. Burke from publishing materials that are embarrassing to
that broadcast.

                                         11
      government."). Nor do they seek to suppress the seized materials
      or ask for any other relief. This is sufficient to conclude the
      motion was solely for the return of property.

This Court went on to note that:

      [In re Grand Jury Proceedings ("Berry"), 730 F.2d 716 (11th Cir.
      1984) (per curiam)] directed us to consider not only the existence
      of a pending criminal investigation, but also to look to the
      purpose of the motion for the return of property. See id. at 717-
      18. If it "is obvious from a reading of the motion that appellants
      are attacking the validity of the search and seizure under the
      fourth amendment," then it is "clear that the motion is tied to the
      ongoing criminal investigation and to issues that may be litigated
      in any subsequent criminal proceedings arising out of the
      seizure." Id. at 718; see also United States v. Glassman, 533 F.2d 262,
      262-63 (5th Cir. 1976)("Only if this motion was a collateral
      attempt to retrieve property and not an effort to suppress
      evidence in related criminal proceedings is it appealable.").

      In the case at bar, while Mr. Burke challenges the lawfulness of the seizure,

he has not challenged the probable cause behind it - nor could he have done so

without the Affidavit. He has challenged the government’s “callous disregard”

for his rights under the First Amendment, and the fact that the seizure has acted

as, and continues to act as a prior restraint on his ability to publish. This callous

disregard is in no way impacted by the fact that the government has retaliated by

seeking an indictment -- the remedy he seeks here is to be able to publish, not to

suppress evidence. That remedy is not tied in esse or at all to any criminal matter,

and this appeal is not “collateral” to that matter.

      Conclusion

      The government seized Mr. Burke’s newsroom without telling the


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Magistrate Judge that this was what they were doing. The government seized Mr.

Burke’s newsroom and more than 100Tb of data without informing the Magistrate

Judge that (a) he was a journalist, (b) there was likely to be both First Amendment

protected expressive materials and privileged communications with sources and

other journalists, (c) the “compromised credentials” were in fact public information

and not unlawfully obtained, and (d) the purportedly “hacked” materials were

being broadcast unencrypted over publicly-accessible URLs, which means that

there could not possibly be a reasonable expectation of privacy attached to them.

Because there was no hearing under Rule 41(g), there is no evidence that the

government obtained approval to seize a newsroom, or to seize materials protected

under the PPA from the required DOJ officials, or that any Filter Team protocols

existed. In fact, the government failed to reveal all such information from the

Magistrate Judge, who could not tell the most basic information about this case.

The government retains journalistic materials in a way that acts as a prior restraint

on publication, and which continues to cause irreparable harm to Mr. Burke and to

the public, and has done so in callous disregard for his rights as a journalist, in

callous disregard for the First Amendment, and in callous disregard for the

existence of various privileges recognized by the State of Florida and common

experience. These issues are neither moot nor tied to the criminal case.

      At a minimum, Mr. Burke should receive the benefit of a hearing on the

merits of his claims, as he is entitled to under Rule 41(g).


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      Respectfully submitted,


Mark D. Rasch
Law Office of Mark Rasch
Member, MD, MA, NY Bar                    COUNSEL FOR APPELLANT
Phone: (301) 547-6925
MDRasch@gmail.com
Admitted Pro Hac Vice


Michael P. Maddux, Esquire
Florida Bar # 964212
Michael P. Maddux, P.A.
2102 West Cleveland Street
Tampa, Florida 32606
Phone: (813) 253-3363
mmaddux@madduxattorneys.com



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Word 2010 in 13 pt. Book Antiqua.

      s/Michael P. Maddux
      Michael P. Maddux
      Counsel for Appellant


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                         CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing Response in Opposition with the

Clerk of Court via CM/ECF on the 6th day of March, 2024. I further certify that I

have served a true and correct copy of the foregoing Response in Opposition via

CM/ECF on this 6th day of March, 2024, upon Jay Trezevant, Esquire.

      s/Michael P. Maddux
      Michael P. Maddux
      Counsel for Appellant




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Burke v USA, Appeal Number: 23-13649


                      UNITED STATES COURT OF APPEALS
                             ELEVENTH CIRCUIT

TIMOTHY BURKE,

                       Appellant,

v.                                              Appeal Number: 23-13649

UNITED STATES OF AMERICA,

               Appellants.
___________________________________/

         APPELLANT’S CERTIFICATE OF INTERESTED PERSONS
             AND CORPORATE DISCLOSURE STATEMENT

       Appellant, TIMOTHY BURKE, by and through the undersigned Counsel,

hereby discloses the following pursuant to this Court's interested persons order:

       1. Flynn, Sean P.

       2. Jung, William F.

       3. Locicero, Carol J.

       4. Philipson, Jon Michael

       5. Maddux, Michael P.

       6. Rasch, Mark D.

       7. Times Publishing Company

       8. Trezevant, Jay G.

       9. United State of America



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Dated: 3/6/2024                                 Respectfully Submitted,

                                                MICHAEL P. MADDUX, P.A.

                                                S/Michael P. Maddux
                                                Michael P. Maddux, Esquire
                                                Florida Bar Number: 964212
                                                Attorney for Appellant
                                                2102 West Cleveland Street
                                                Tampa, Florida 33606
                                                Phone: (813) 253 - 3363
                                                Facsimile: (813) 253 - 2553
                                                E-Mail:
                                                mmaddux@madduxattorneys.com
                                                jszymczak@madduxattorneys.com
                                                ctonski@madduxattorneys.com




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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


    TIMES PUBLISHING COMPANY

    v.                                                 CASE NO. 8:23-mc-00014-WFJ-SPF
                                                                8:23-mj-1541-SPF
    UNITED STATES OF AMERICA

              UNITED STATES’ MOTION TO PARTIALLY UNSEAL
                   AFFIDAVIT FOR SEARCH WARRANT

         The United States of America moves this court to partially unseal the below-

identified Affidavit in Support of Application for Search Warrant (the “PC

Affidavit”) with proposed narrowly tailored redactions, so that the United States can

provide a copy of the redacted PC Affidavit to Timothy Burke. In support, the

United States offers as follows:

         1.     On May 4, 2023, upon consideration of an application and related PC

Affidavit, this Court found probable cause supported the United States’ application

for a warrant to search the Tampa residence of Timothy Burke for records and

evidence relating to violations of 18 U.S.C. § 1030 (intentional unauthorized access

of a computer), and 18 U.S.C. § 2511 (intentional interception and disclosure of

wire, oral, or electronic communication), and issued the pertinent warrant. Doc.

18-1.1



1
 The underlying search warrant records were originally filed in the case styled In the Matter of the
Search of Premises Located at [Timothy Burke’s Residence in Tampa, Florida], No. 8:23-mj-1541-SPF.



                                            Exhibit A
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      2.     On the same day, this Court, in the interests of justice, entered an

Order, granting the United States’ motion to seal the Application for Search

Warrant, Warrant, PC Affidavit, and related motion to seal. Id.

      3.     FBI agents executed the warrant at the Burke residence on May 8,

2023. Doc. 1. The search team left with multiple electronic devices and hard copy

items, which are particularized in the Evidence Collected Item Log, filed with this

Court as part of the warrant return. Id.

      4.     On July 21, 2023, Burke filed a motion to unseal the PC Affidavit and

a companion motion seeking, in part, the return of all items and information seized

from his residence, and he sought a hearing on his motions. Docs. 25 and 26.

Following a response by the United States, Doc. 33, and upon consideration of the

underlying case filings, the magistrate judge entered an order on September 22,

2023, denying Burke’s motion to unseal the PC Affidavit without prejudice. Doc.

35. The magistrate judge also denied Burke’s request for a hearing. Doc. 36.

      5.     Burke then filed a Motion for Reconsideration and Objections to

Report and Recommendation of Magistrate Judge on Movant’s Motion Pursuant to

Fed. R. Crim. P. 41(g) (“Motion for Reconsideration”). Docs. 38 and 39. The

United States responded in opposition to Burke’s Motion for Reconsideration on

October 20, 2023. Doc. 40. Thereafter, the District Court entered an Order that

construed Burke’s Motion for Reconsideration as an objection to the magistrate


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judge’s Order and denied the motion. Doc. 41. The District Court also denied as

moot Burke’s related motion for return of property. Doc. 42.

      6.     Burke filed a Notice of Appeal of the District Court’s Orders on

November 1, 2023. Doc. 43. That appeal is pending. See Timothy Burke v. United

States of America, 23-13649-H.

      7.     On February 15, 2024, a federal grand jury sitting in the Middle

District of Florida returned a fourteen count indictment against Timothy Burke,

charging Burke in Count One with engaging in a conspiracy from in or around

February 2022, and continuing through May 2023, in violation of 18 U.S.C. § 371;

in Counts Two through Seven with intentionally accessing a protected computer

without authorization, in violation of 18 U.S.C. § 1030(a)(2)(C); in Counts Eight

through Twelve with intentional interception of a wire, oral, or electronic

communication, in violation of 18 U.S.C. § 2511(1)(a); and in Counts Thirteen and

Fourteen with intentionally disclosing an illegally intercepted wire, oral, or

electronic communication, in violation of 18 U.S.C. § 2511(1)(c). See United States

v. Timothy Burke, Case No. 8:24-cr-0068-KKM-TGW (the “Burke Case”). Burke

Case, Doc. 1. The indictment also includes forfeiture allegations that identify,

among other items, twenty items subject to forfeiture that were seized from Burke’s

residence on May 8, 2023. Id.

      8.     Burke was arrested today, February 22, 2024, and his indictment is

now unsealed.
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        9.    Notwithstanding the recent indictment against Burke, the

investigation concerning the conduct of Burke and others is still ongoing.

        10.   The United States is therefore requesting that this Court partially

unseal the PC Affidavit so that the United States can provide a copy to Burke for

his review and use in this case and in the Burke Case, with narrowly tailored

redactions—an IPv6 address in paragraph 53 and related footnote 8, and a home

address of two individuals listed in the same footnote, pursuant to Fed. R. Crim. P.

49.1.

        11.   So that this Court can review and consider the United States’

proposed tailored redactions, the United States will submit to the District Court in

camera a copy of the sealed PC Affidavit with the proposed redactions and a copy

of the PC Affidavit with the proposed redactions highlighted and reviewable.

        12.   As the underlying federal criminal investigation is still ongoing, the

United States further requests that the seal otherwise remain in place to protect and

safeguard the integrity of the ongoing investigation, the safety and security of law




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enforcement personnel, the privacy of unnamed and uncharged subjects of the

investigation, and the privacy of third-party fact witnesses and potential victims.



                                              Respectfully submitted,

                                              ROGER B. HANDBERG
                                              United States Attorney



                                       By:     /s/Jay G. Trezevant
                                              Jay G. Trezevant
                                              Assistant United States Attorney
                                              Florida Bar No. 802093
                                              400 North Tampa Street, Suite 3200
                                              Tampa, Florida 33602
                                              Telephone: (813) 274-6076
                                              Facsimile: (813) 27-6125
                                              E-mail:      jay.trezevant@usdoj.gov




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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

              Michael Maddux, Esq.
              Mark Rasch, Esq.
              Carol J. Locicero, Esq.


                                         /s/ Jay G. Trezevant
                                         Jay G. Trezevant
                                         Assistant United States Attorney
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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

    TIMES PUBLISHING COMPANY

    v.                                       CASE NO. 8:23-mc-00014-WFJ-SPF
                                                      8:23-mj-1541-SPF
    UNITED STATES OF AMERICA

                                           ORDER

         Before the Court is the United States’ Motion to Partially Unseal Affidavit

   for Search Warrant in the instant case. Upon consideration, the Court grants the

   United States’ motion and ORDERS:

         1.     The Affidavit in Support of Application for Search Warrant

   (“Affidavit in Support”) is partially unsealed with redactions and the United

   States may provide a copy of the Affidavit in Support and its attachments to

   Timothy Burke for review and use in this case and in United States v. Timothy

   Burke, Case No. 8:24-cr-0068-KKM-TGW (the “Burke Case”).

         2.     IT IS FURTHER ORDERED that, should Timothy Burke make

   any use of the Affidavit in Support and/or its attachments in this case or in the

   Burke Case, the United States may also use the Affidavit in Support and its

   attachments in the same case;

         3.     IT IS FURTHER ORDERED that, should any party make use

   of or refer to the Affidavit in Support and/or its attachments in public filings



                                          Exhibit B
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   or argument in this case or in the Burke Case, that party shall, absent Court

   permission, redact or otherwise refrain from referring to any individual

   identified within the document other than a defendant charged in the Burke

   Case; and

         4.      IT IS FURTHER ORDERED that the Affidavit in Support of

   Search Warrant and its attachments shall remain otherwise sealed by the Clerk

   of the Court until May 4, 2024, unless extended by further order of the Court.

         DONE AND ORDERED in Chambers at Tampa, Florida, this 22nd

   day of February 2024.


                                           ________________________________
                                           SEAN P. FLYNN
                                           United States Magistrate Judge


   Copies to:   Jay G. Trezevant
                Assistant United States Attorney
